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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

PERENCO ECUADOR LTD.,                             )

                        Petitioner,               )

        v.                                        )
                                                       Case No. 19-cv-02943-JMC
THE REPUBLIC OF ECUADOR,                          )

                        Respondent.               )

                                                  )


 JOINT MOTION FOR LEAVE TO SUPPLEMENT THE RECORD, FOR A BRIEFING
       SCHEDULE, AND FOR THE SCHEDULING OF ORAL ARGUMENT

       Petitioner Perenco Ecuador Limited (“Perenco”) and Respondent Republic of Ecuador

(“Ecuador,” and together with Perenco, the “Parties”) jointly move the Court to enter the

attached Proposed Order supplementing the record with additional evidence relevant to

Perenco’s Petition to Enforce Arbitral Award (the “Petition”), ECF No. 1, and Ecuador’s Cross-

Motion for Setoff, ECF No. 20, setting a briefing schedule, and scheduling oral argument on the

Petition and Cross-Motion once briefing is complete.

       The Parties agree that a decision rendered by the Tax Chamber of the Ecuadorian

National Court of Justice (the “NCJ”) on November 8, 2021 (the “November 8 Decision”) is

relevant to the matters in dispute and should be added to the record in this case. The Parties

attach the November 8 Decision in its original in Spanish, along with an agreed certified

translation, as Joint Exhibit 1 hereto. The Parties also agree that their differing views on the

consequences of the November 8 Decision for this case should be addressed in short briefs (no

longer than 10 pages each), to be submitted in accordance with the Parties’ agreed briefing




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schedule stated below and in the Proposed Order. Finally, the Parties reiterate their requests for

oral argument (as made in their prior individual submissions) as a joint request.

       The background of this dispute is set forth at length in the Parties’ prior submissions and

will only be briefly summarized here. In sum, Perenco seeks recognition and enforcement of an

arbitral award (the “Award”) rendered against Ecuador by an arbitral tribunal constituted under

the France-Ecuador Bilateral Investment Treaty and the International Centre for Settlement of

Investment Disputes (“ICSID”) Convention (see Petition, ECF No. 1), as modified by an ICSID

Annulment Committee on May 28, 2021. See Joint Status Report at 1-2, June 2021, ECF No. 15.

       Ecuador has filed a Partial Opposition and Cross-Motion for Setoff (the “Cross-Motion”),

ECF No. 20, in which Ecuador seeks setoff for certain tax judgments that it claims are final and

enforceable against Perenco under Ecuadorian law and seeks a partial stay of enforcement of the

Award for tax debt that it claims has been assessed against Perenco but is still being litigated in

the Ecuadorian Courts. Perenco opposes the Cross-Motion in its entirety.1

       The Parties completed briefing on Perenco’s Petition and Ecuador’s Cross-Motion on

October 18, 2021.2


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    The Parties also disagree on whether the post-award interest rate ordered by the arbitral
    tribunal governs the post-judgment interest rate to be ordered by this Court when it enters
    judgment. The November 8 Decision is not directly relevant to that issue (except to the
    extent it affects the amounts to which the post-judgment interest rate is to be applied).
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    Perenco filed its Petition on October 1, 2019. ECF No. 1. The action was then stayed from
    December 26, 2019 through July 27, 2021, pending the resolution of Ecuador’s annulment
    petition before the ICSID Annulment Committee. Following the decision of the ICSID
    Annulment Committee, the Court granted Perenco’s Unopposed Motion to Lift Stay by
    Minute Order dated July 28, 2021. Thereafter, Ecuador filed its Cross-Motion on August 9,
    2021 (ECF No. 20); Perenco filed its Consolidated Response to Ecuador’s Partial
    Opposition to Petition to Enforce Arbitral Award and Cross-Motion on September 20, 2021
    (ECF No. 29); and Ecuador filed its Reply on October 18, 2021 (ECF No. 40). Each Party
    submitted an Expert Report, Fact Witness Declaration, and numerous exhibits with its briefs
    addressing the Cross-Motion.




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       After the completion of briefing on Perenco’s Petition and Ecuador’s Cross-Motion, the

NCJ—Ecuador’s highest court for non-constitutional matters—issued the November 8 Decision,

which vacated one of the judgments for which Ecuador seeks setoff and remanded it to the lower

courts. Following meet-and-confer efforts, the Parties agreed that the November 8 Decision is

relevant to their dispute and should be added to the record before the Court. However, the

Parties disagree on the consequences of the November 8 Decision for the dispute. Accordingly,

the Parties jointly move the Court for leave to add the November 8 Decision to the record and

submit briefs stating their respective positions (each limited to ten pages and to the issue of the

November 8 Decision’s relevance to the matters in dispute) according to the following briefing

schedule:

                Perenco shall file its opening brief by January 25, 2022;

                Ecuador shall file a responsive brief by February 15, 2022;

                Perenco shall file any reply brief by February 22, 2022.

The Parties also move for leave to submit with each brief an Export Report and/or Fact Witness

Declaration and such exhibits as are necessary to support their respective arguments on the

consequences of the November 8 Decision.

       The Parties further move this Court to schedule oral argument on Perenco’s Petition and

Ecuador’s Cross-Motion, which will be fully briefed on February 22, 2022, when the Parties

complete their submissions on the November 8 Decision. Perenco first filed its request for

arbitration with ICSID on April 30, 2008, Consolidated Response, at 6-7, and petitioned this

Court for enforcement of the resulting Award on October 1, 2019, see ECF No. 1. Both Parties

wish to conclude this long-running dispute as expeditiously as possible. The Parties would

greatly appreciate it if argument were to be scheduled on or before March 18, 2022, given that




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 counsel for Perenco has significant trial commitments in the months thereafter, insofar as the

 Court’s schedule can accommodate the request.

         For these reasons, the Parties jointly move the Court to enter the attached Proposed

 Order supplementing the record with the November 8 Decision, setting a briefing schedule, and

 scheduling oral argument.




Dated: January 14, 2022

DEBEVOISE & PLIMPTON LLP                         DECHERT LLP



/s/ Mark W. Friedman                             /s/ Alexandre de Gramont

Mark W. Friedman                                 Alexandre de Gramont
D.D.C. Bar No. NY0328                            D.C. Bar No. 430640
mwfriedman@debevoise.com                         alex.degramont@dechert.com

919 Third Avenue                                 1900 K Street, N.W.
New York, NY 10022                               Washington, DC 20006
Ph: (212) 909-6000                               Ph: (202) 261-3300

Attorneys for Petitioner                         Attorneys for Respondent
Perenco Ecuador Limited                          Republic of Ecuador




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